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                                                                                              DALLAS HOUSTON

                                                                                              Attorneys and Counselors

                                                                                              Renaissance Tower
                                                                                              1201 Elm Street, Suite 1700
DONALD E. GODWIN, SHAREHOLDER                                                                 Dallas, Texas 75270-2041
BOARD CERTIFIED - CIVIL TRIAL LAW -                                                           214.939.4400
TEXAS BOARD OF LEGAL SPECIALIZATION                                                           800.662.8393
DIRECT DIAL:    214.939.4412                                                                  214.760.7332 Fax
DIRECT FAX:     214.939.4803
DGodwin@GodwinRonquillo.com                                                                   GodwinRonquillo.com

                                                          July 30, 2012


           VIA EMAIL: Sally_Shushan@laed.uscourts.gov
           The Honorable Sally Shushan
           United States Magistrate Judge
           United States District Court for the
           Eastern District of Louisiana
           500 Poydras Street, Room B-345
           New Orleans, LA 70130
                      Re:        In Re: Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico, on
                                 April 20, 2010, MDL-No. 2179 (including but not limited to Cause Nos. 12-968
                                 and 12-970)
           Dear Judge Shushan:
                   According to the positions taken by BP and the PSC, Halliburton Energy Services, Inc.
           ("HESI") purportedly faces billions of dollars in potential liability in this case whether from
           contribution actions, actual damages, exemplary damages, or all of the above. Despite this
           extreme liability exposure, BP and the PSC postulate that HESI should sit idly by, and be
           precluded from, the process leading to the certification and fairness hearing, the results of which
           BP and the PSC will undoubtedly use in an attempt to establish the fairness and reasonableness
           of the settlement as relating to claims asserted against HESI. For this and the other reasons set
           out in this letter, HESI has legal standing to participate in the certification and fairness hearing
           process, including taking discovery, and the law supports HESI's position.
                   For BP and the PSC to argue that HESI has no standing to object to the Settlement
           Agreements is to ignore clear and binding precedent and is on its face a transparent attempt to
           deny HESI due process. Although HESI is not a named party to the Settlement Agreements as
           such, the Settlement Agreements implicate and, in many cases, prejudice HESI's substantive
           rights. And, despite BP's and the PSC's contentions, non-settling defendants such as HESI have
           every right to challenge a class action settlement if the settlement agreement results in plain legal
           prejudice to their rights. In re: Vioxx Prods. Liab. Litig., 388 Fed. Appx. 391, 395 (5th Cir.
           2010). The law is also clear that plain legal prejudice occurs when a partial settlement deprives a
           non-settling party of a substantive right. Newby v. Enron Corp. (In re Enron Corp. Sec)., MDL-
           1446, Civil Action No. H-01-3624, Consolidated Cases Civil Action No. H-02-4788
           (Coordinated), 2008 U.S. Dist. LEXIS 48516, at *31-*33 (S.D. Tex. June 24, 2008) (citing In re:
           Beef Industry Antitrust Litigation, 607 F.2d 167, 172 (5th Cir. 1979)). This line of cases clearly
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supports HESI's standing to both object to the fairness and reasonableness of the Settlement
Agreements and to conduct discovery into them.
I.     HESI HAS STANDING
       A.      BP Mischaracterizes the "Law of the Case" Doctrine and Appellate Law
               1.     Law of the Case
        BP's statement that the Court's preliminary approval order is somehow law of the case is
misleading and inaccurate. The law of the case doctrine is not applicable without an appellate
court ruling. White v. Murtha, 377 F.2d 428, 431 (5th Cir. 1967) (a determination of a legal
issue or issues by an appellate court establishes the law of the case). In this situation, not only
was there no appellate court ruling on HESI's standing, there was no ruling or order from this
Court as to HESI's standing. The Court merely stated in a footnote that "[i]t also does not
appear that HESI has shown any other form of legal prejudice that would give it standing to
object." Doc. 6418 at 17 n.18 (emphasis added). This is not a ruling, but an aside, and an
indefinite aside at that. As stated by the Court at the preliminary approval hearing:
       Before we begin, I want to remind everyone, just so there is no misunderstanding
       or misapprehension of why we're here today, that this is not, I repeat, this is not a
       final approval of anything. This is only a very preliminary stage of proceeding on
       forward with these proposed settlements. I'll note that there have been a few
       filings made by other parties, objections to the preliminary consideration,
       motions for preliminary approval. That's fine. I'll note those for the record. I'll
       certainly consider those. But no one waives any rights by filing or not filing
       anything here today or prior to today.
Transcript of Hearing on the Motions for Conditional Certification of Rule 23(b)(3) Classes for
Settlement Purposes (April 25, 2012), 12:3-13 (emphasis added).
        In its argument that the Court's footnoted aside as to HESI's standing is law of case, BP
relies on Murtha, 377 F.2d at 431. Murtha, however, demonstrates that the law of the case
doctrine is inapplicable here:
       While the "law of the case" doctrine is not an inexorable command, a decision of
       a legal issue or issues by an appellate court establishes the "law of the case" and
       must be followed in all subsequent proceedings in the same case in the trial court
       or on a later appeal in the appellate court, unless the evidence on a subsequent
       trial was substantially different, controlling authority has since made a contrary
       decision of the law applicable to such issues, or the decision was clearly
       erroneous and would work a manifest injustice.
Id. In fact, the law of the case doctrine "provides that an appellate court's determination on a
legal issue is binding on both the trial court on remand and an appellate court on a subsequent
appeal given the same case and substantially the same facts." BLACK'S LAW DICTIONARY 887
(6th ed. 1990). Obviously, this doctrine has no application here. As the Fifth Circuit explained,
"[u]nder the law of the case doctrine, an issue of fact or law decided on appeal may not be
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reexamined either by the district court on remand or by the appellate court on a subsequent
appeal.” United States v. Matthews, 312 F.3d 652, 657 (5th Cir. 2002) (citations omitted,
emphasis added). Again, law of the case applies to issues actually decided by an appellate
court, not statements made by the trial court in passing. United States v. Hatter, 532 U.S. 557,
566 (2001) ("The law of the case doctrine presumes a hearing on the merits."). The issue of
HESI's standing has never been heard by this Court on the merits, and certainly has never been
ruled upon by an appellate court. At any rate, for BP to claim that a footnoted aside in a
preliminary order somehow forecloses (through law of the case or otherwise) HESI's right to
conduct discovery and to participate in the final fairness hearing is a gross misstatement of the
law and the facts.
               2.      Appeal of the Preliminary Order
        Additionally, for BP to suggest that HESI should have appealed the Preliminary
Approval Order is a misstatement of basic appellate law. First, the Preliminary Approval Order
is not a final appealable order. See, e.g., In re Lupron(R) Mktg. & Sales Practices Litig., 345 F.
Supp. 2d 135, 138 (D. Mass. 2004) ("[A] preliminary approval of a settlement and a conditional
certification of a settlement class does not dispose of the litigation as significant hurdles must be
met and cleared if a final settlement is to be approved."). Second, Judge Barbier assured all
parties that the preliminary approval was simply a step in the direction of evaluating the
Settlement Agreements, and not a final determination of anything:
       So if I issue an order giving preliminary approval, which frankly, I'll state for the
       record, I'm leaning in favor of doing, but I'm not going to do that from the bench
       here today, but that will simply launch the ship, so to speak, get this thing on its
       journey. Because unless and until there is preliminary approval, there can be no
       due process given to the putative class members. There can be no notice. There
       has to be formal notice. There has to be a schedule of final fairness hearing, an
       opportunity for appointment of class representatives, opportunities for people to
       file formal objections that can be briefed and considered by the Court before any
       final approval hearing or at any final approval hearing, an opportunity for people
       to opt out if they care to do that after consideration.
Transcript of Hearing on the Motions for Conditional Certification of Rule 23(b)(3) Classes for
Settlement Purposes (April 25, 2012), 95:21-96:9. Accordingly, BP's arguments in this regard
are without merit.
       B.      Binding Precedent Establishes HESI's Standing
        It is true that in the context of class settlements, non-settling parties like HESI generally
lack standing to challenge the settlement, based on the rationale that the settlement will not affect
substantive legal rights of the non-settling parties. In re: Vioxx Prods. Liab. Litig., 388 Fed.
Appx. at 395. However, BP gives short shrift to the significant and well-known exception to this
general rule: where the rights of a non-settling party are substantially prejudiced by the
settlement (“plain legal prejudice” is also used), the non-settling defendant has standing to
object; in this regard, plain legal prejudice occurs when a partial settlement deprives a non-
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settling party of a substantive right. Newby v. Enron Corp. (In re Enron Corp. Sec)., 2008 U.S.
Dist. LEXIS 48516 at *31-*33 (citing In re: Beef Industry Antitrust Litigation, 607 F.2d 167,
172 (5th Cir. 1979)). See also Schmerling v. Acromed Corp. (In re Orthopedic Bone Screw
Prods. Liab. Litig.), MDL Docket No. 1014, Civil Action No. 96-2749, Civil Action No. 97-381,
1997 U.S. Dist. LEXIS 4165, at *16-*17 (E.D. Pa. Mar. 26, 1997) ("The Court Will Give All
Non-Settling Defendants a Voice. . . . The court believes that the . . . non-settling Defendants
should not be completely shut out of the class certification and settlement approval process.
Some of the issues they have raised, especially concerning the scope and structure of the class
and [settling defendant's] financial condition, are extremely important. There is no question that
their arguments will assist the court in making the proper decisions concerning these difficult
issues in what otherwise would be a non-adversarial setting."). In this regard, examples of plain
legal prejudice include, but are not limited to, the following:
     1.      Settlement that strips a non-settling defendant of the right to assert a
             defense. Florida Power Corp. v. Granlund, 82 F.R.D. 690 (M.D. Fla.
             1979).
     2.      Settlement that strips a non-settling defendant of contract rights. Quad /
             Graphics, Inc. v. Fass, 724 F.2d 1230 (7th Cir. 1983).
     3.      Settlement that attempts to deprive a non-settling party of the right to
             present evidence at trial. Dunn v. Sears, Roebuck & Co., 639 F.2d 1171,
             1173-74 (5th Cir. 1981) (making potential witnesses unavailable to
             remaining defendants).
     4.      Settlement that strips a non-settling defendant of a legal claim or cause of
             action, including a cross-claim. In re Integra Realty Res. Inc., 262 F.3d
             1089, 1102-03 (10th Cir. 1992); Alumax Mill Prods., Inc. v. Congress Fin.
             Corp., 912 F.2d 996, 1002 (8th Cir. 1990).
     5.      Settlement that extinguishes property rights. Zupnick v. Fogel, 989 F.2d 93
             (2nd Cir. 1993).
     6.      Settlement that includes a bar order cutting off rights of contribution and
             indemnity. In re: Granada Partnership Securities Litigations, 803 F.Supp.
             1236, 1238-39 (S.D. Tex. 1992); New Eng. Health Care Employees Pension
             Fund v. Woodruff, 512 F.3d 1283, 1288 (10th Cir. 2008) ("Plain legal
             prejudice sufficient to confer standing upon a non-settling litigant in a class
             action has been found to include any interference with a party's contract
             rights or a party's ability to seek contribution or indemnification.") (citations
             omitted).
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        C.       The Settlement Agreements Deprive HESI of Substantive Legal Rights1

        BP and the PSC have carefully structured their Settlement Agreements in an attempt to
preserve contingent contribution claims against HESI, as well as certain other actual and punitive
damage claims. One can only assume that BP and/or the PSC will eventually attempt to use the
amounts paid under the Settlement Agreements as the basis for any contingent contribution
claims, as well as the basis for assessing punitive damages, assuming any claim for punitive
damages exists. In fact, neither BP nor the PSC has availed itself of the opportunity to disclaim
the likelihood of such future reliance. See Transcript of Working Group Conference (July 20,
2012), 22:12-23:18. In the face of these potential claims, one of HESI's defenses will be the
reasonableness of the underlying settlement amounts. See, e.g., Durgin v. Crescent Towing &
Salvage, Inc., Civil Action No. 00-1602, 2002 U.S. Dist. LEXIS 20126, at *13 (E.D. La. Oct. 18,
2002) (holding under general maritime law that cross-plaintiff paid disputed amounts above and
beyond maintenance and cure prior to the filing of plaintiff's lawsuit, and that these pre-suit
payments in excess of its legal liability were unreasonable as a matter of law, thus precluding
contribution or indemnification for the excess portion). It takes no stretch of the imagination to
recognize that BP and/or the PSC will attempt to use any determination made by this Court at the
conclusion of the certification and fairness process as a defense to any attack HESI may later
make on the reasonableness of the settlement amounts, thus attempting to strip HESI of one of its
defenses to the claims asserted. Despite these well-founded, acknowledged, and largely
undisputed facts, BP and the PSC would preclude HESI from participation in the very process
leading to this Court's determination regarding the fairness and adequacy of the proposed
Settlement Agreements. While HESI does not concede that the Court's determination in the
certification and fairness proceeding is ultimately binding on HESI, BP's and the PSC's careful
crafting and drafting cannot conceal the reality that their actual intent is to strip HESI of a
potential legal defense. This basis alone is sufficient under governing law to provide HESI with
standing to participate in the certification and fairness process.
         But HESI can also demonstrate plain legal prejudice on several additional fronts. As just
an example, the Settlement Agreements purport to assign claims against HESI to the Economic
Class Members, including claims for contribution and for actual and punitive damages. (Doc.
6276, Ex. 21, § 1.1.3). This assignment is void on its face as a violation of the settlement bar
rule. In McDermott, Inc. v. AmClyde, 511 U.S. 202 (1994), the U.S. Supreme Court, while
discussing the inconsistencies related to contribution issues, adopted the proportionate-share
approach for calculating damages in admiralty cases involving joint tortfeasors. Id. at 217. As a
result, it anticipated that by adopting the proportionate-share approach for damage calculations,
when an admiralty case is pursued to judgment against a non-settling tortfeasor, no suits for
contribution would be permitted nor would they be necessary because the proportionate-share
approach would preclude a judgment debtor in an admiralty case from paying more than that
        1
           See New Eng. Health Care Employees Pension Fund v. Woodruff, 520 F.3d 1255, 1256-58 (10th Cir.
2008) (Baldock, J. dissenting from denial for panel rehearing) (arguing that non-settling defendant with standing to
object to any part of settlement may object to all of it: "core tenets of our standing jurisprudence demonstrate that
Appellants need only demonstrate 'plain legal prejudice' under one provision of the partial settlement agreement to
have standing to challenge the district court's approval of the agreement").
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judgment debtor's share of any judgment. Id. at 209, 212; see also Ondimar Transportes
Maritimos v. Beatty St. Props., 555 F.3d 184, 187 (5th Cir. 2009); Murphy v. Florida Keys Elec.
Co-op. Ass'n, Inc., 329 F.3d 1311, 1314-15 (11th Cir. 2003). Under the damage calculation
method, an amount paid by a settling tortfeasor diminishes the amount that a claimant has against
other joint tortfeasors by the equitable share of the obligation of the settling tortfeasor.
McDermott, 511 U.S. at 212.
         "An essential tenet of this [McDermott] approach is that when a tortfeasor settles a claim
against it, but does not obtain a release for the other tortfeasors, it has settled only its
proportionate share of the total damages, no more and no less." Murphy, 329 F.3d at 1314.
Thus, "[n]o suit for contribution will lie against a nonsettling defendant who is not released from
liability, because that defendant remains liable for its proportionate share of damages regardless
of the terms of the settlement the other defendant made." Id. at 1315. Likewise, the law is clear
that parties may not avoid the impact of the settlement bar rule by creative attempts to assign
claims. Ondimar Transportes Maritimos, 555 F.3d at 188-89. Plaintiffs may ultimately be
barred from recovering actual damages against HESI based on BP's full payment of plaintiffs'
claims. Nonetheless, without a full release as to HESI, as opposed to one that seeks to preserve
and assign claims, BP cannot seek contribution from HESI, and, thus, it cannot assign such a
claim to the PSC. Any attempt to do so prejudices HESI's substantive rights.
       As well, the Settlement Agreements purport to assign claims for punitive damages,
without proof of liability for, or amount of, compensatory damages. Punitive damages cannot
exceed the amount of properly determined compensatory damages. Exxon Shipping Co. v.
Baker, 554 U.S. 471 (2008) (applying 1:1 ratio of compensatory to punitive damages). While
HESI disputes any basis for punitive damages against it, without a clear delineation between
compensatory and punitive damages, there is no valid method for assessing any punitive
damages that may be awarded against HESI. Further, under the Settlement Agreements, the Risk
Transfer Premium ("RTP") is apparently meant, in part, to liquidate legal disputes about punitive
damages against BP; nevertheless, BP purports to assign claims for punitive damages against
HESI to the plaintiffs, without a method to segregate the amounts already paid via RTP from the
amounts purportedly subject to collection via assignment. The facts that no claim exists for
punitive damages against HESI,2 that such an assignment violates the settlement bar rule, and

         2
           See, e.g., Neal v. Barisich, Inc., 707 F. Supp. 862, 873 (E.D. La. 1989), aff'd, 889 F.2d 273 (5th Cir. 1989)
(applying general maritime law, the district court dismissed claims for punitive damages because plaintiffs could not
show evidence of actual damages); Parr v. Theriot, No. 89-3295, 1990 U.S. Dist. LEXIS 5952, at *8 (E.D. La. May
17, 1990) (applying general maritime law, a plaintiff may not recover punitive damages absent a recovery for
compensatory damages); AmWest Sav. Ass'n v. Statewide Capital, 144 F.3d 885, 890 n.6 (5th Cir. 1998) (under
Texas law there can be no punitive damages absent recovery of compensatory damages). See also Virgilio v. City of
New York, 407 F.3d 105, 116-18 (2nd Cir. 2005) (under New York law, punitive damages cannot be invoked
without some compensatory injury and "[o]nce the compensatory claim [is] satisfied, the parasitic claim for punitive
damages [is] also extinguished."); Thrall Car Mfg. Co. v. Lindquist, 495 N.E.2d 1132 (Ill. App. Ct. 1986) (under
Illinois law, a plaintiff who has been fully compensated for actual damages cannot maintain an action solely for
punitive damages against other defendants); Hilbert v. Roth, 149 A.2d 648 (Pa. 1959) (under Pennsylvania law,
although plaintiff suffered actual damages, plaintiff could no longer sue second joint tortfeasor for actual or punitive
damages, as they are a "mere incident" to the underlying cause of action).
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that the Settlement Agreements obfuscate rather than clarify these issues necessarily prejudice
HESI's substantive legal rights.
        In sum, BP has entered into the Settlement Agreements, but attempts to keep its
contribution claims viable in an inherently flawed and void assignment of these claims to the
PSC. This assignment flies in the face of the law. And, no doubt, BP is trying to have its cake
and eat it too by on the one hand claiming HESI has no standing to challenge the Settlement
Agreements, while at the same time assigning a claim against HESI based, at least in part, on the
Settlement Agreements. BP should not be allowed to maintain and assign its alleged
contribution claim—in contravention of governing law—and then try to deny HESI standing to
object to settlements that implicate HESI as a possible contribution target.
        In addition to the issues previously discussed, the Settlement Agreements are ripe with
examples of plain legal prejudice to HESI's substantive rights to the extent that they: (1)
eliminate or modify the standards of proof for causation and damages, including BP's voluntary
waiver of the liability cap of $75M plus removal costs under OPA; (2) improperly seek to restrict
HESI's access to key witnesses; and (3) affect HESI's ability to independently settle with the PSC
and/or individual members of the putative classes.
       Below is a non-exhaustive summary of HESI's substantive rights prejudiced by the
Settlement Agreements:
               1.     The Economic and Property Damages Settlement Agreement Deprives
                      HESI of Its Substantive Rights In this Litigation, Resulting In Plain Legal
                      Prejudice
      BP purports to assign its claims against HESI to the Economic Class Members, including
       claims for contribution and for compensatory and punitive damages. (Doc. 6276, Ex. 21,
       § 1.1.3). This is an end-run around the settlement bar rule.
      By presuming causation for certain claimants, rather than requiring strict proof, any claim
       for contribution subjects HESI to potential liability that may not be established by the
       appropriate legal standard, thus depriving HESI of a claim or legal defense.
      The Agreement presumes satisfaction of the presentment requirement for Oil Pollution
       Act claims. (Doc. 6276, § 7.3). While BP is directly liable under OPA, HESI is not.
       Nonetheless, BP's waiver of the presentment requirement will improperly increase the
       amount of contribution ultimately sought from HESI. Further, BP's attempts to assign
       contribution claims against HESI are not limited by the OPA cap for such damages. To
       the extent BP has voluntarily waived the liability cap of $75M plus removal costs under
       OPA § 1004(a)(3), any claim by BP for contribution for compensatory damages should
       be capped at the maximum of HESI's share of $75M plus removal costs. Assignment of
       contribution rights for any amount over that cap improperly increases the amount of
       contribution ultimately sought from HESI. Likewise, to the extent the assigned claims
       include any portion related to the $57M fund to promote the Gulf Coast, the $5M fund
       for a supplemental publicity campaign managed by the PSC, or the $15M fund to
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        improve healthcare capacity and health literacy, such amounts are beyond the legal
        obligations of HESI,3 but no restriction is included in the purported assignment of claims.
       The Agreement limits the availability of witnesses and evidence from BP employees, and
        requires the Economic Class to "use its best efforts to avoid having to call BP employees
        as witnesses in court for a trial or other proceedings pursuing Assigned Claims." (Doc.
        6276, § 1.1.3.8). This is particularly problematic where, as here, many witnesses are
        outside the subpoena power of the Eastern District of Louisiana. See Dunn, 639 F.2d
        1173-74 (a settlement that attempts to deprive a non-settling party of right to present
        evidence at trial, such as making potential witnesses unavailable to remaining defendants,
        violates a substantive right).
       The Agreement attempts to limit HESI's ability to settle with the Economic Class,
        Plaintiffs, and/or Economic Class Members. (Doc. 6276, Ex. 21, § 1.1.2.5). Such a
        restriction prejudices HESI by improperly imposing BP's review over any settlement with
        the PSC.
       The structure of the Agreement makes it impossible for HESI to assess the basis of any
        compensatory payment, as well as the amount of any exemplary or punitive damages
        payment (through the RTP) that may be the object of a contribution claim.
       The Agreement bars HESI from reviewing the underlying Claims Forms. (Doc. 6276, §§
        4.4.14, 5.11.2, 5.11.5). Whether HESI is asked to defend against claims by claimants
        directly, or to defend a claim for contribution by BP or the PSC, the Agreement precludes
        HESI from accessing the underlying documentation supporting the claim, making a
        reasonableness defense much more difficult, if not impossible.
       HESI has no access to information regarding individuals and entities that opt-out of the
        settlement class. (Doc. 6276, § 21.3.6). Without this information, HESI cannot assess
        the efficacy of the proposed Agreement, or if Rule 23's numerosity, commonality,
        predominance, or superiority requirements are met.
       The Agreement tolls statutes of limitation. (Doc. 6276, § 7.3). Tolling the statute of
        limitations as to claims against BP may improperly increase the amount of contribution
        ultimately sought from HESI.



        3
            Halliburton cannot be liable in contribution for payments BP makes without a legal obligation to do so.
See Durgin v. Crescent Towing and Salvage, Inc., No. 00-1602, 2002 U.S. Dist. LEXIS 20126, at *11-13 (E.D. La.
Oct. 18, 2002). The Settlement Agreements purport to make HESI liable for amounts not established by proper
proof at trial. For example, in their joint motions the PSC and BP concede that the $2.3B Seafood Compensation
Program "exceeds the annual revenue of these industries many times over." Even if HESI is liable for contribution,
which it is not, HESI should not be liable for any portion of such over-payment. Likewise, HESI should not be
liable for a portion of the $57M fund BP is voluntarily providing to promote the Gulf Coast, BP's voluntary
commitment to provide up to $5M in funds for a supplemental publicity campaign managed by the PSC, the $105M
BP is voluntarily providing over five years to integrated programs designed to improve healthcare capacity and
health literacy, or attorneys' fees BP voluntarily agrees to pay.
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        The Agreement appears to pay amounts to claimants for pure economic loss claims,
         absent a physical injury, in violation of Robins Dry Dock. While BP is liable for an
         expanded base of economic loss claims under OPA, HESI is not. BP's agreement to pay
         these amounts, without any classification or breakdown, will improperly increase the
         amount of contribution ultimately sought from HESI, obscure which claims are based on
         pure economic damages, and make it virtually impossible for HESI to determine which
         claimants present proper claims under Robins Dry Dock.
                  2.        The Medical Damages Settlement Agreement Also Deprives HESI of Its
                            Substantive Rights In this Litigation, Resulting In Plain Legal Prejudice
        By presuming causation for certain claimants, rather than requiring strict proof, any claim
         for contribution subjects HESI to potential liability that may not be established by the
         appropriate legal standard.
        The Agreement prohibits the proof or litigation of the alleged fault of BP in a settlement
         class member's back-end litigation option lawsuit for a later-manifested physical
         condition. (Doc. 6273-1, § VIII.G.3.b.ii., p. 70/193). Given HESI's cross-claims against
         BP, this provision of the Agreement again attempts to strip HESI of a legal claim or
         defense.
        The Agreement attempts to limit HESI's ability to settle with the Class Members unless
         BP is also released. (Doc. 6273-1, § XVII.B.5., p. 116-17/193). Such a restriction
         prejudices HESI by improperly imposing BP's review over any potential HESI
         settlement.
        The Agreement tolls statutes of limitations. (Doc. 6273-1, § X.E., p. 90/193). Tolling
         the statute of limitations as to claims against BP will potentially improperly increase the
         amount of contribution ultimately sought from HESI.
        The Agreement states that it does not create any third-party beneficiary, which potentially
         forecloses HESI's standing to enforce provisions of the Agreement that benefit HESI, as
         HESI is not a party to the Agreement. (Doc. 6273-1, § XXX.H., p. 190/193).4



         4
           The requirements under Texas and federal maritime law regarding third-party beneficiaries are the same.
"In order to recover as a third-party beneficiary to a contract, the plaintiff must prove that the parties to the contract
intended to benefit the third-party as evidenced solely from the language of the contract." BP Oil Int'l, Ltd. v.
Empresa Estatal Petroleos De Ecuador, No. 04-20911, 2008 U.S. App. LEXIS 914, at *9-10 (5th Cir. Jan. 16,
2008) (internal quotation marks and citations omitted). "Under well settled contract principles, a promise must be
made directly for the benefit of a third party to support a claim by that third party under the contact. . . . intended
third party beneficiaries of contracts may seek enforcement of the contract; incidental beneficiaries may not. . . ."
Atl. & Gulf Stevedores v. Revelle Shipping Agency, 750 F.2d 457, 459 n.3 (5th Cir. 1985) (internal citations and
quotation marks omitted). By the terms of the Agreement, BP and the PSC attempt to divest HESI of status as a
third-party beneficiary, while also attempting to preserve any and all benefits that might accrue to BP and/or the
PSC by actually making HESI a third party beneficiary to the Agreement. This duplicity constitutes plain legal
prejudice to HESI.
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According to binding precedent, the Settlement Agreements, as outlined above, establish the
basis for HESI's standing to object to the Agreements and participate in the certification and
fairness process.
        D.       The PSC's Authority Does Not Require a Conclusion that HESI Lacks
                 Standing

        In their attempt to show that HESI has no standing, Plaintiffs incorrectly rely heavily on
Transamerican Ref. Corp. v. Dravo Corp., 952 F.2d 898, 900 (5th Cir. 1992). First, although
Transamerican does present an analysis of the non-settling defendants' standing, the Fifth Circuit
actually declined to determine the issue because the underlying judgment from which the
appellants sought review was only a "partial final judgment," and thus appeal was not
appropriate.5 Id. at 900 ("This Court concludes that the appellants lack standing to pursue this
appeal at present and accordingly dismiss the appeal."). Second, in Transamerican the class had
already been certified. Id. at 899. The prior certification of a class lessens the scrutiny placed on
the settlement agreement. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997) (in the
context of a settlement-only class certification, the specifications of Rule 23 designed to protect
absentees by blocking unwarranted or overbroad class definitions require "undiluted, even
heightened attention" by the judge). Third, in Transamerican, non-settling defendants primarily
objected on the basis of lost contribution rights and issues related to proportionate fault and
settlement credit. Id. at n.1. In its analysis, the court noted that these were "speculative and
hypothetical" arguments. Id. at n.3. This is procedurally central to the holding. At the time the
Fifth Circuit handed down its decision, the district court had yet to determine which law would
apply and the Fifth Circuit noted that Texas law, the law of the forum, had no "settlement bar"
statute. Id. at 900. Those issues were still before the district court. Thus, many of the non-
settling defendants' arguments were not fully ripe and were still pending before the district court,
making their claims speculative, and certainly distinguishing this case from the issues before the
Court.
        Unlike Transamerican, the Court has already determined that general maritime law
applies. See e.g., Doc. 3830 at 8. Given the determination that general maritime law applies to
this case, HESI's rights and defenses are more established than those of the non-settling
defendants in Transamerican, and cannot be dismissed as "speculative and hypothetical." The
settlement bar rule is well established under general maritime law, McDermott, Inc. v. AmClyde,
511 U.S. 202 (1994), and the laws related to comparative negligence, proportionate fault,
punitive damages, negligence, and procedural matters such as standards of proof are equally set
by this Court's earlier determination. Thus, the authority upon which the PSC relies is not
dispositive of HESI's standing.




        5
          Subsequent history shows that the matter was never resurrected for full consideration by the Fifth Circuit
or the Southern District of Texas.
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II.       HESI HAS NO INTENTION TO "HARM THE OVERALL INTEREST OF THE
          CLASSES' ACTUAL MEMBERS"
        Despite BP's claims, HESI does not intend to limit recovery against BP available to the
classes or to delay implementation of the settlement agreements unless the facts and legal
authorities require they be delayed. See BP Letter Brief at 14. First, HESI wants nothing more
than to ensure that its rights are protected to the fullest extent of the law—it is not focused upon
what the recovery is per se, but rather upon the fairness of the terms of recovery as they
implicate and impact HESI. Second, as to BP's argument that HESI seeks through its request for
discovery to somehow "delay implementation of the settlement agreements," id., this flawed
argument is belied by the fact that the GCCF and Mr. Juneau's fund have already paid out many
millions of dollars to the plaintiffs. Nothing HESI seeks from this Court would in any manner
affect the timing of the plaintiffs' recovery which has been, and continues to be, part of an
established process of claims review.
III.      HESI IS ENTITLED TO DISCOVERY IN PREPARATION FOR THE FAIRNESS
          HEARING
          A.      HESI Requested Discovery at the Earliest Opportunity, and Any Delay
                  Resulting From Discovery Would Be Minimal
        BP complains that HESI's request for depositions of the class members is untimely.6 This
is not so. HESI indicated its need for and intention to take discovery in its preliminary
objections, on April 24, 2012. Doc. 6350 at 3. Further, given the procedure between the
Preliminary Approval Order and the Final Fairness Hearing, it is unlikely that depositions could
have taken place any earlier. Indeed, some of the discovery sought, depositions of BP's and the
PSC's experts, could not be conducted earlier because BP and the PSC have not yet revealed the
identity of those experts. Further, the Preliminary Approval Order issued on May 2, 2012.
Notices were sent sometime thereafter directly to certain potential class members. Notices were
also published in various publications. Given that BP and the PSC needed time to send and
publish the notices, and potential class members needed to review the Settlement Agreements in
light of their potential damages to decide whether they wished to challenge or join the Settlement
Agreements, any earlier request would have been premature.
        As well, BP claims that HESI's request for discovery would "inflict[] an undue burden
upon the settling parties." BP Letter Brief at 15. However, BP never informs the Court what
this undue burden would be. In fact, as the Court well knows, the plaintiffs have received many
millions of dollars in distributions from the GCCF and Mr. Juneau's fund, and those distributions

          6
           BP's complaint that HESI's request for depositions was made too late rings hollow in light of comments
made by Class Counsel for Plaintiffs who has argued that such depositions are, in fact, premature. See Transcript of
Working Group Conference (July 20, 2012), 19:1-18; 20:5-21:4. Specifically, Class Counsel urged that depositions
should be taken after the August 31, 2012 deadline for filing objections so individuals will not need to be
"redepose[d]". Id. at 19:1-13. Class Counsel also argued that depositions should be taken only after supporting
declarations are filed on August 13, 2012: "[O]ur submission isn't even due until August 13. So to schedule
depositions of people who won't even be filing their declarations, if any, until the 13th doesn't make any sense." Id.
at 19:14-18.
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continue to the present day. While HESI denies that discovery will necessitate any delay, the
truth is that BP cannot demonstrate any prejudice or undue burden that any delays possibly
arising from discovery would cause.
        B.       HESI's Requested Discovery is Necessary to a Meaningful Assessment of the
                 Fairness and Reasonableness of the Settlement Agreements
         "An informed evaluation is extremely difficult if discovery is incomplete or has been
conducted against only a few of the defendants." DAVID F. HERR, ANNOTATED MANUAL FOR
COMPLEX LITIGATION, FOURTH § 21.651 at 498 (4th ed. 2010). Such is precisely the situation
here—although massive discovery has been undertaken in this case, none of this discovery
addresses causation, plaintiffs' damages, or the opinions of the class representatives relating to
the reasonableness of the settlements.7 Certainly one of the primary purposes of the class
representatives and expert witnesses is to offer evidence in support of the reasonableness of the
Settlement Agreements. As the Settlement Agreements largely presume causation, an issue that
has not been the subject of prior discovery, HESI requires the depositions of the class
representatives and expert witnesses to assess claims that the Settlement Agreements are
reasonable. Despite BP's claims, this information does not exist anywhere in the record, as all
discovery to date relates to Phase I liability issues; thus, such discovery would be anything but
duplicative of previous efforts. Accordingly, in order to have a meaningful assessment of
whether the settlements are fair, reasonable, and adequate pursuant to Fed. R. Civ. P. 23(e)(2),
discovery as to the plaintiffs, the class representatives, and the expert witnesses, albeit limited
and narrowly tailored, should go forward. See In re Lorazepam & Clorazepate Antitrust Litig.,
205 F.R.D. 24, 26 (D.D.C. 2001) (holding that the court may in its discretion allow discovery if
it will help the court determine whether the settlement is fair, reasonable, and adequate).
        More importantly, because HESI has standing to object, it is entitled to take this
discovery and to participate in the certification and fairness hearing. See Scardelletti v. Debarr,
265 F.3d 195, 204 n.10 (4th Cir. 2001) (concluding that "the court should extend to any objector
to the settlement leave to be heard, to examine witnesses and to submit evidence on the fairness
of the settlement"). In this regard:
        Generally, the objector has neither independent evidence of the fairness or
        adequacy of the settlement nor sufficient knowledge or understanding of the
        grievances involved. Though the proponent's prior discovery and memoranda in
        support of the settlement may educate the objector as to the issues and problems
        involved, the evidence most probably will not supply the objector with the
        material necessary to support an attack on the proposed settlement. Therefore, the
        objector must secure evidence through independent discovery and presentation of
        witnesses at the settlement hearing.
4 ALBA CONTE AND HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS § 11:57 (4th ed. 2002).


        7
           In fact, such discovery has been prohibited up to this point in the litigation. See Doc. 569 at 8-11
(defining the scope of Phase I discovery).
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       As well, additional discovery would be consistent with the widely accepted view that
approval of settlement class actions under Fed. R. Civ. P. 23(e) requires closer judicial scrutiny
than approval of settlements reached only after class certification has been litigated through the
adversary process. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (calling for a
"higher standard of fairness" in reviewing a settlement negotiated before class certification).
        According to the PSC, "there must be a nexus between the discovery sought and a type of
information the Court is lacking. Broad-based discovery will rarely, if ever, be permitted, and
discovery regarding irrelevant subjects should never be permitted." PSC Letter Brief at 7. HESI
generally agrees with this statement. However, given the procedural posture of this case, HESI
lacks information concerning plaintiffs' damages, as well as information concerning the class
representatives and expert witnesses upon whom BP and the PSC will rely in assessing the
fairness and reasonableness of the proposed settlements. Thus, the information HESI seeks
through discovery is necessary to meaningful review of the fairness and reasonableness of the
Settlement Agreements.
         C.    Despite BP's and PSC's Claims, HESI Has No Interest in Discovery Into the
               Settlement Negotiations Themselves
        The PSC argues against a straw man when it states that "Even Assuming Arguendo Some
Standing, Neither HESI Nor the State of Louisiana (Nor Any Party) Has the Right to the
Requested Discovery Absent Some Showing of “Fraud” or “Collusion” (Which Doesn’t Exist)."
PSC Letter Brief at 5. This is an overstatement and a misunderstanding of HESI's position
regarding its standing. While HESI is entitled to discovery, it does not seek discovery into
settlement negotiations, the only type of discovery that would require a preliminary showing of
collusion or other improper behavior. HERR, ANNOTATED MANUAL FOR COMPLEX LITIGATION,
FOURTH § 21.643 at 496; Bowling v. Pfizer, 143 F.R.D. 141, 153 & n.10 (S.D. Ohio 1992). But
again, as HESI has no intention of pursuing such a line of discovery, this issue is moot.
IV.      HESI IS ENTITLED TO DISCOVERY IN PREPARATION FOR THE
         CERTIFICATION HEARING
        The management of discovery sought by parties opposing class certification is committed
to the sound discretion of the court. Nat'l Org. for Women, Farmington Valley Chapter v. Sperry
Rand Corp., 88 F.R.D. 272 (D. Conn. 1980). Some discovery may be necessary when the facts
relevant to any of the certification requirements are disputed or when the party opposing
certification contends that proof of the claims or defenses unavoidably raises individual issues.
HERR, ANNOTATED MANUAL FOR COMPLEX LITIGATION, FOURTH § 21.14 at 369. Likewise,
some discovery may be necessary where the affidavits, declarations, and arguments or
representations of counsel do not provide sufficient reliable information. Id.
       In the context of a settlement-only class certification such as this one, the specifications
of Rule 23 designed to protect absentees by blocking unwarranted or overbroad class definitions
require "undiluted, even heightened attention" by the judge. Amchem Prods., Inc., 521 U.S. at
620. Further, "[t]he court should defer decision on certification pending discovery if the existing
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record is inadequate for resolving the relevant issues." In re American Med. Sys., 75 F.3d 1069,
1086 (6th Cir. 1996).
        Given the complexity of the underlying case and proposed Settlement Agreements, the
amounts in controversy, and the potential substantial legal prejudice to HESI's rights as outlined
herein, HESI respectfully requests discovery in preparation for the final class certification and
fairness hearing through discovery from class representatives and expert witnesses to be called
by BP and the PSC in support of the Settlement Agreements.
V.       THE DISCOVERY HESI SEEKS IS NARROWLY TAILORED AND RELEVANT
        HESI is not interested in embarking upon a fishing expedition—in fact, HESI is
intimately familiar with, and was a driving force behind, the massive discovery undertaken to
date in this matter. However, and not surprisingly since past discovery was principally related
only to Phase I liability issues, there is a noticeable dearth of information concerning the
plaintiffs' purported injuries, causation, and damages. Likewise, given the recent date of the
Settlement Agreements, no discovery has occurred regarding proposed class representatives and
expert witnesses offered in support of the fairness and reasonableness of the Settlement
Agreements. HESI faces alleged liability in the billions of dollars, and it is beyond doubt that a
portion of the basis for that liability, i.e., contribution claims and claims for punitive damages,
will potentially be addressed to some extent and manner by this Court's ruling on the fairness and
reasonableness of the Settlement Agreements. HESI requests depositions of class representatives
and experts retained by BP and the PSC in support of the Settlement Agreements.8 Precluding
HESI from conducting its requested limited and narrowly tailored discovery is not supported by
logic, fairness, or the law. The discovery sought bears directly upon issues vital to HESI and is
narrowly tailored only to obtain information relevant and necessary to protecting HESI's
substantive legal rights at the upcoming certification and fairness hearing.
VI.      CONCLUSION
        HESI disputes the allegations of liability made by BP and the PSC. Nonetheless, BP's
and the PSC's positions regarding HESI's liability have been made clear in the proceedings that
pre-date the certification and fairness process, and have been highlighted by the terms of the
Settlement Agreements. BP and the PSC seek to impose billions of dollars of liability upon
HESI, while at the same time asking this Court to preclude HESI from participating in
proceedings that could have a direct impact on the underpinning of that liability. The law
requires that in these circumstances, HESI has standing to participate in the certification and
fairness process. Based upon its legal standing and its right to due process, HESI asks that this
Court grant HESI permission to conduct its requested discovery, to have access to information
necessary to the evaluation of the claims against it, and to participate in the certification and
fairness hearing.



         8
         HESI also requests that it be allowed to conduct document discovery from the expert witnesses upon
which BP and the PSC will rely in arguing for the fairness and reasonableness of the Settlement Agreements.
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                                     Respectfully submitted,




                                     Donald E. Godwin




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